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Attorneys for Plaintiff United States of America, for the use and benefit of Alaska

Dernolition LLC.

UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF ALASKA

UNITED STATES OF AMERICA, for
the use and benefit ofALASKA
DEMOLITION LLC, an Alaska
limited liability company,

Use Plaintit`f,

VS.

COMPANION PROPERTY AND
CASUALTY INSURANCE
COMPANY, a South Carolina
corporation,

and

BAM CONTRACTORS, INC., a TeXaS
COrpOration; '

Defendants.

 

Case No.

MILLER ACT COMPLAINT

BREACI-I OF CONTRACT

I)EMAND FOR JURY TRIAL

 

M|LLER ACT CO|V|PLA!NT, Case No.
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l COMES NOW Plaintiff the United States of America, for the use and benefit of
Alaska Demolition LLC, and`for its complaint alleges as folloWs:
ARTICLE I.
PARTIES
l. Use Plaintiff, Alaska Demolition LLC (“Alaska Demolition”) is an Alaska
limited liability_company, licensed, bonded and registered to do business as a contractor

in the State ofAlasl<a.

2. Use Plaintiff holds State ot` Alaska Contractor’s license number
CON-E 27209.
3. Use Plaintiff’ s contractor’s license Was in effect at all relevant times, and Use

Plaintiff is otherwise qualified to maintain this action.

4. Defendant BAM Contractors, Inc., (“BAM”) is a Texas corporation

5. On June 12, 2013, the State of Alaska entered a Certiticate of Involuntary
Dissolution/Revocation against BAM.

6. Defendant Companion Property and Casualty lnsurance Company
(“Surety”) is a South Carolina corporation engaged in the surety business and provides
surety bonding to construction contractors performing Worl< on Federal Proj ects.

M_DICT_I_U

7. Pursuant to 28 U.S.C. § 1331, this Court possesses federal question

jurisdiction over Use Plaintift"s cause of action against the Surety pursuant to the “Miller

Act" (4() U.S.C. § 3131).

IV||LLER ACT COMPLA|NT, Ca$e NO.
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8. The Court’s jurisdiction over Use Plaintist cause of action against BAM
is based upon this Court’s Supplemental Jurisdiction, 28 U.S.C. § 1367.

9. The claims against BAM are so related to claims in the action Within this
Court’s original Miller Act jurisdiction as to be part of the same case or controversy
under Article III of the United States Constitution.

ARTICLE II.
VENUE

10. Venue is proper in this court under 40 U.S.C. § 3133 because the Worl<
out of which this dispute arises Was performed on Joint Base El1nendorf-Richardson located
adjacent to Anchorage, Alaska.

ARTICLE III.
APPLICABLE LAW

ll. Regarding Count 2, Breach of Contract by BAM, the substantive law of the
State of Alaska applies because parties formed their contracts in Alaska, and the Work
Was performed in the State ofAlaska.

FACTUAL ALLEGATIONS_BUILDING 7210

12. Use Plaintiff re-alleges and reincorporates the allegations contained in all
preceding paragraphs of this Complaint as though fully set forth herein.

13. This dispute arises out of a federal government construction project more
specifically identified as, “Warehouse Building 7210 Elmendort` AFB, Contract No.
FA5000~1 l~D~OOO 1-0004” (“Project 7210”).

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14. BAM contracted With the U.S. Army Corps of Engineers to perform the
construction Work for Project 7210. On or about June 27, 2012, BAM entered a
subcontract With Use Plaintiff to perform certain demolition Work for Project 7210 (“the
7210 Subcontract”).

15. Pursuant to 40 U.S.C. §§ 3131, 3134, the Surety for BAM furnished to The
United States of America a joint and several Payment Bond dated August 28, 2012 in the
penal sum of $143,899.23. Exhibit 1: Payment Bond.

16. The PaymentBond Was conditioned upon the timely and proper payment
to all persons supplying labor and material in the prosecution of Project 7210.

17. Use Plaintiff began Work on Project 7210 in 2014.

18. On September 30, 2014, Use Plaintiff invoiced BAM for Work performed on
the Subcontract in the amount of 347,500.

19. On December 10, 2014, Use Plaintiff invoiced BAM for Worl< performed on
the Subcontract Work in the amount cf $2,500.

20.- BAM failed and refused to pay invoice numbers 5480 and 5531.

21. The Use Plaintiff completed its work in compliance With the requirements
of the contract documentsl

22. At no time has BAM provided any notice of deficiencies or contract

nonconformance to the Use Plaintiff.

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ARTICLE IV.
COUNT 1 - MILLER ACT CLAIM 40 U.S.C. § 3131

23. Use Plaintiff re-alleges and reincorporates the allegations contained in all
preceding paragraphs of this Complaint as though fully set forth herein. `

24. More than ninety (90) days and less than one year, has expired from the last
date upon which the Use Plaintiff furnished labor and materials on the-above project.

25. By reason of BAM’s failure to pay Use Plaintiff the sum of $50,000 justly
due and owed and in accordance with the provisions of the Payment Bond (Exhibit
l) and The Miller Act (40 U.S.C. § 3131 et seq), Defendant BAM as principal, and
Defendant Companion Property and Casualty Insurance Company, as Surety, have become
jointly and severally indebted and liable to Use Plaintiff for the unpaid sum of $50,000.

26. Use Plaintiff conformed and complied with all of conditions required under
the Payment Bond, Exhibit 1.

27. Use Plaintiff conformed and complied with all of conditions required under
the Miller A_ct.

ARTICLE V.
COUNT 2 - BREACH OF CONTRACT CLAIM AGAINST DEFENDANT BAM

28. Use Plaintiff re-alleges and reincorporates the allegations contained in all
preceding paragraphs of this Complaint as though fully set forth herein.

`29. All previous averments are hereby incorporated by reference

30. BAM breached its contract with Use Plaintiff by failing to pay the full

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amount due for the work performed by Use Plaintiff.

31. Use Plaintiff is entitled to damages for BAM’s breach of contract.

32. Use Plaintiff suffered $50,000 in direct damages

33. Use Plaintiff suffered additional consequential damages in an amount to be
proven at the time of trial.

ARTICLE VI.
COUNT 3 - QUANTUM MERUIT CLAIM

34. All previous averments are hereby incorporated by referencel

35. BAM is liable in quantum meruit for the value of the work it ordered and
received from Use Plaintiff for Project 7210.

ARTICLE VII.
DEMAND FOR JURY

36. Pursuant to Fed. R. Civ. P. 38, Use Plaintiff demands a trial by jury in this

matter regarding Count 2: Breach of Contract by Defendant BAM.
ARTICLE VIII.
ARTICLE IX. PRAYER FoR RELIEF

WHEREFORE, The United States of Arnerica, for the use and benefit of Alaska
Demolition LLC, prays for relief as follows:

l. For judgment against Defendant Companion Property and Casualty
Insurance Company in the sum of $50,000;

2. For judgment against Defendant BAM Contractors, Inc., for a sum in excess

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350,000, the exact amount to be proven at trial.

3. For awards of pre- and postjudgment interest against Defendants;

4. For an award of attorneys’ fees and costs incurred in prosecuting this action,
including without limitation attorney’s fees and costs incurred on appeal and in the course
of collection; and

5. For such other and further relief as may appear just and equitable in the
premises l

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RESPECTFULLY sUBMiTTED this YA day ar Febmary, 2015.

BURR, PEASE & KURTZ
Attomeys for Use Plaintiff Alaska Demolition LLC

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By: /s/ Bruce E. Davison
Bruce E. Davison, ABA 8211 1 1 l

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By: /s/ l\/Iartha T. Tansil<
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